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                           TINITEDSTATESDISTRICTCOURT
                                                   oFLouIsIANA
                           -t-TT-Y :-t:-lott
ANDREW SCHLESINGER"
an individual,                                     CASENO.:

              Plaintiff,
                                                   Judge:
vs.

C&AMANAGEMENT,L.L.C.
a LimitedLiability Company                         Magistrate:

      Defendant.
                                     ------x

                                      COMPLAINT
      Plaintifi ANDREW SCHLESINGER,
                                  by andthroughhis undersigned
                                                             counsel,herebyfiles

this ComplaintandsuesC & A Management,
                                    L.L.C. (hereinafterreferredto as"DEFENDANT,'),

a Limited Liability Company,organizedin the Stateof Louisiana,for declaratoryand injunctive

relief,attorneys'fees,andcostspursuanttotheAmericanswithDisabilities
                                                          Act,42U.S.C.$121g1

et seq.,andalleges:

                            JURISDICTION AND PARTIES

l.    This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of theAmericans

      WithDisabilities
                     Act,42U.S.C.S
                                 12181etseq.(hereinafterreferredtoasthe"ADA").
                                                                          This

      Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C.SS1331and1343.

2.    Venueis properin this Courtpursuantto 28 U.S.C.91391(b).

3.    Plaintiff,ANDREW SCHLESINGER,
                                  (hereinafter
                                             referredto as"MR. SCHLESINGER"
                                                                          or

      "PLAINTIFF"), is a residentof LafourcheParish,Louisiana.

4.    MR. SCHLESINGERis a qualified individual with a disability underthe ADA. MR.

      SCHLESINGER is afflicted with spina bifrda.

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5.    Dueto hisdisability,PLAINTIFFis substantially
                                                 impairedin severalmajorlife activitiesand

      requiresa wheelchairfor mobilitv.

6.    Uponinformationandbelief DEFENDANTis a Limited Liability Company,organizedin

      the Stateof Louisianaand having the domicile of 150 Isle of Cuba Road. Schriever.

      Louisiana70395.

7.    Uponinformationandbelief,DEFENDANTis theowner,lessee,lessorand/oroperatorof

      the real propertiesand improvementswhich is the subjectof this action,to wit: Rally's

      generallylocatedat 400North CanalBoulevard,Thibodaux,Louisiana7030I.

8.    TheDEFENDANTis obligatedto complywith the ADA.

9.    All eventsgivingriseto this lawsuitoccurredin theEasternDistrictof Louisiana,Lafourche

      Parish,Louisiana.


                   COUNT I. VIOLATION OF TITLE III OF THE
                       AMERICANS WITH DISABILITIES ACT

10.   PLAINTIFFreallegesandreaversParagraphs
                                           1 - 9 asif theywereexpresslyrestatedherein.

11.   ThePropertyis a placeof public accommodation,
                                                 subjectto theADA, generallylocatedat:

      at 400North CanalBoulevard,Thibodaux,
                                          Louisiana70301.

12.   MR. SCHLESINGERhasvisitedthePropertynumerous
                                                 timesandplansto visit theProperty

      againin the nearfuture.

13.   Duringthesevisits,MR. SCHLESINGER
                                      experienced
                                                seriousdifficulty accessing
                                                                          thegoods

      andutilizing the servicesthereindueto the architecturalbaniersasdiscussed
                                                                              in paragraph

      l6 of this Complaint.
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14.   MR. SCHLESINGERcontinuesto desireto visit theProperty,but continuesto experience

      seriousdifficulty dueto the barriersdiscussed
                                                  in Paragraphl6 which still exist.

1 5 . MR. SCHLESINGERintendsto andwill visit thePropertyto utilize thegoodsandservices

      in the future,but fearsthat he will encounterthe samebarriersto accesswhich are the

      subjectsof this action.

16.   DEFENDANTisinviolationof
                           42U.S.C.
                                  $ 12181
                                        etseq.and,28C.F.R.   etseq.and
                                                       $36.302
      is discriminatingagainstPLAINTIFF due to, but not limited to the following violations

      which PLAINTIFFpersonallyobservedand,lor
                                             encountered
                                                       which hinderedher access:

             A.     Therearerampsat thefacility thatdo not havelevellandingsand/orcontain

                    excessive
                            slopes;

             B.     A completelack of disabledparkingin the parkingarea;

             C.     Thereis no compliantaccessible
                                                 routefrom theparkingareasto the facility;

             D.     In the parkingareathereis non complaintstripingandsignage;

             E.     Thereis no compliantcurbcut betweenthe parkingareaandfacility itself;

                    and

             F.     Thereis no compliantaccessible
                                                 routefrom theparkingareasto thefacility.

16.   Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF, andothers

      similarly situated,by failing to make reasonable
                                                     modificationsin policies,practicesor

      procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

      opportunityto participatein, or benefitfrom, the goods,services,facilities,privileges,

      advantages,
               andaccommodations
                              whichDEFENDANToffersto the generalpublic;andby

      failingto takesucheffortsthatmaybenecessary
                                               to ensurethatno individualwith a disability
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       is excluded,denied setvices,segregated,or otherwisetreated differently than other

       individuals becauseof the absenceof auxiliaryaidsandservices.

17.    To date,all bariers to accessandADA violationsstill existandhavenot beenremediedor

       alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA, even

       thoughremovalis readilyachievable.

18.    Removal of the discriminatorybarriersto accesslocated on the property is readily

       achievable,reasonablyfeasible,and easilyaccomplished,
                                                          and would not placean undue

       burdenon DEFENDANT.

19.    Removalof the barriersto accesslocatedon the Propertywould providePLAINTIFF an

       equalopportunityto participatein, or benefitfrom,thegoods,services,andaccommodations

      which DEFENDANToffer to the generalpublic.

20.   Independent
                of his intent to retum as a patronto the Property,PLAINTIFF additionally

      intendsto returnasan ADA testerto determinewhetherthe barriersto accessstatedherein

      havebeenremedied.

21.   PLAINTIFF has been obligatedto retain the undersignedcounselfor the filing and

      prosecutionof this action. PLAINTIFF is entitledto havehis reasonable
                                                                          attorneys'fees,

      costs,andexpenses
                      paidby DEFENDANT,pursuantto 42 U.S.C.$ 12205.



                                judgmentagainstDEFENDANT,andrequeststhe
      WHEREFORE,PLAINTIFF demands

followinginjunctiveanddeclaratoryrelief:

      A.     That this Court declare that the Property owned, leasedandl/oroperatedby

             DEFENDANTis in violationof the ADA:


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B.   Thatthis Courtenteran OrderdirectingDEFENDANTto alterthe facility to make

     it accessible
                 to anduseableby individualswith disabilitiesto the fulI extentrequired

     by Title III of the ADA;

C.   Thatthis CourtenteranOrderdirectingDEFENDANTto evaluateandneutralizeits

     policies,practices,andprocedures
                                    towardspersonswith disabilitiesfor a reasonable

     amountof time, allowingimplementation
                                         andcompletionof correctiveprocedures;

D.   Thatthis Courtawardreasonable
                                 attorneys'fees,costs(includingexpertfees),and

                 of suit,to pLAINTIFF; and
     otherexpenses

E.   That this Court awardsuchotherandfurtherrelief as it deemsnecessary,
                                                                       just and

     proper.
                                         RespectfullySubmitted,

                                         THE BIZER LAW FIRM
                                         Attorneysfor Plaintiff
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                                     By:
                                        AndrewD. Bizer
